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                                          No. 23-1144

                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT



                               ESTATE OF KE ZHENGGUANG,

                                                     Plaintiff/Petitioner – Appellee

                                                v.

         YU NAIFEN STEPHANY, a/k/a Stephany Yu, a/k/a Stephany Naifen Yu, a/k/a
                           Stephany N. Dombrowski,

                                                     Defendant/Respondent – Appellant


           On Appeal from the United States District Court for the District of Maryland
                       (Case No. 8:18-cv-03546-PX; 8:20-cv-02260-PX)


             CONSENT MOTION TO MODIFY THE BRIEFING SCHEDULE

              Pursuant to Federal Rule of Appellate Procedure 26(b) and Local Rules

        27(b) and 31(c), Defendant/Respondent – Apppellant Yu Naifen Stephany, a/k/a

        Stephany Yu, a/k/a Stephany Naifen Yu, a/k/a Stephan N. Dombrowski

        (“Stephany Yu”) files this Consent Motion to Modify the Briefing Schedule. This

        consent motion is being filed more than ten (10) days before the due date of the

        pleading for which an extension is sought.           The background and reasons

        demonstrating good cause for the request are outlined below.
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               1.     The Opening Brief and Joint Appendix in the matter are due on April

        3, 2023.

               2.      The undersigned counsel has significant work and travel

        commitments that would make completing the Opening Brief by April 3

        impracticable.

               3.     The undersigned has consulted with opposing counsel, Amiad

        Kushner, and proposed an extension of the briefing schedule.           Mr. Kushner

        reported that his own travel and work commitments rendered the initial proposal

        difficult.   The parties ultimately negotiated and agreed upon a schedule that

        involves a modest extension (the initial deadline is extended 16 days), and that

        navigates both sides’ respective schedules.

               4.     In light of these facts, Defendant-Appellant respectfully requests that

        the following, agreed-upon modified schedule be approved:

                                         Current Date               Proposed Date
        Opening Brief and Joint          April 3, 2023              April 19, 2023
          Appendix
        Response Brief                   May 3, 2023                May 24, 2023
        Reply Brief                      Within 21 days of          June 16, 2023
                                          service of response
                                          brief

               5.      There have been no previous requests for modification of the

        briefing schedule.




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              6.      For good cause shown herein, Defendant-Appellant respectfully

        requests that the proposed modification to the briefing schedule be granted.

        Dated: March 2, 2023                         Respectfully submitted,


                                                      /s/ Charles Michael
                                                     Charles Michael
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                             CERTIFICATE OF COMPLIANCE

            This Motion has been prepared using Microsoft Word 2019, Times New
        Roman font, 14-point proportional type size.

              The body of this motion, exclusive of the case caption, title, and
        signature block, contains no more than 5,200 words, specifically 261 words.

               I understand that a material misrepresentation can result in the Court’s
        striking the brief and imposing sanctions. If the Court so requests, I will provide
        an electronic version of the brief and/or a copy of the word or line print-out.


          March 2, 2023                               /s/ Charles Michael
        Date                                         Charles Michael
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                                    CERTIFICATE OF SERVICE

               I, Charles Michael, certify that on this 2nd day of March, 2023 a copy of this
        Consent Motion to Modify the Briefing Schedule was served via CM/ECF upon
        Plaintiff/Petitioner-Appellee’s Counsel.

                                                      /s/ Charles Michael
                                                     Charles Michael
